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 13

 14                        UNITED STATES DISTRICT COURT
 15                     SOUTHERN DISTRICT OF CALIFORNIA
 16
      YI FAN CHEN, and FRONTLINE               No. 3:16-cv-03044-L-MDD
 17   GLOBAL TRADING PTE. LTD.,
 18   Individually and on Behalf of All
      Others Similarly Situated,               MOVANT NATISSISA
 19                                            ENTERPRISES LTD.’S
 20                             Plaintiffs,    MEMORANDUM OF POINTS
                v.                             AND AUTHORITIES IN REPLY
 21                                            AND FURTHER SUPPORT OF
 22   ILLUMINA, INC., FRANCIS A.               MOTION FOR APPOINTMENT
      DESOUZA, and MARC A.                     AS LEAD PLAINTIFF AND
 23   STAPLEY,                                 APPROVAL OF SELECTION OF
 24                                            COUNSEL
                                 Defendants.
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Case 3:16-cv-03044-L-KSC Document 18 Filed 03/13/17 PageID.741 Page 2 of 4




  1   JAMES MCLEOD, Individually and on
      Behalf of All Others Similarly Situated,   No. 3:17-cv-00053-L-MDD
  2

  3                               Plaintiff,     Date: March 20, 2017
              vs.
  4                                              NO ORAL ARGUMENT
  5   ILLUMINA, INC., FRANCIS A.                 PURSUANT TO LOCAL RULES
      DESOUZA, and MARC A. STAPLEY,
  6                                              Courtroom: 5B (5th Fl. – Schwartz)
  7                               Defendants.    Judge: M. James Lorenz

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  1            Movant Natissisa Enterprises Ltd. (“Natissisa”)’s motion for appointment
  2   as lead plaintiff and selection of counsel should be granted (“Motion”).1 Including
  3   Natissisa, four movants filed motions for appointment as lead plaintiff and
  4   selection of counsel. Since filing, every movant other than Natissisa has either
  5   withdrawn their motion or filed statements indicating that they do not oppose the
  6   granting of Natissisa’s motion.
  7            On March 6, 2017, Armandino Batali and Peter Greenwald filed a “Notice
  8   of Non Opposition” indicating that they “do not oppose the competing lead
  9   plaintiff motion of Movant Natissisa Enterprises Ltd., dkt. # 5.” ECF No. 14.
 10            On March 6, 2017, Yi Fan Chen and Frontline Global Trading Pte. Ltd.
 11   filed a “Notice of Non-Opposition” stating that they “do not oppose the
 12   appointment of Natissia Enterprises Ltd. as Lead Plaintiff or the approval of their
 13   selection of Levi & Korsinsky, LLP as Lead Counsel for the Class.” ECF No. 15.
 14            On March 13, 2017, City of Hartford Retirement Municipal Employees’
 15   Retirement Fund filed a “Notice of Withdrawal” of its motion for appointment as
 16   lead plaintiff and approval of selection of counsel. ECF No. 17.
 17            Natissisa is the only remaining movant, unopposed, seeking to be appointed
 18   as lead plaintiff and have its selection of counsel be approved for this class action
 19   litigation. Natissisa respectfully requests that its motion be granted in its entirety.
 20   //
 21   //
 22   //
 23   //
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      1
 25     Natissisa seeks appointment as lead plaintiff in the above-captioned action as
      well as the related action subject to the motion for consolidation, styled: McLeod
 26   v. Illumina, Inc., et al., No. 3:17-cv-00053-L-MDD.
           MOVANT NATISSISA ENTERPRISES LTD.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
 27       OPPOSITION TO COMPETING MOTIONS FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL
                                         OF SELECTION OF COUNSEL
 28                       Case Nos. 3:15-CV-02700-JLS-NLS and 3:15-cv-02951-JLS-NLS
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Case 3:16-cv-03044-L-KSC Document 18 Filed 03/13/17 PageID.743 Page 4 of 4




  1   Dated: March 13, 2017         Respectfully submitted,
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  4
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 17                                 (to be admitted pro hac vice)

 18                                 Attorneys for Movant Natissisa Enterprises Ltd.
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        MOVANT NATISSISA ENTERPRISES LTD.’S MEMORANDUM OF POINTS AND AUTHORITIES IN
 28      REPLY AND FURTHER SUPPORT OF MOTION FOR APPOINTMENT AS LEAD PLAINTIFF AND
                              APPROVAL OF SELECTION OF COUNSEL
                       Case Nos. 3:16-cv-03044-L-MDD and 3:17-cv-00053-L-MDD
